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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO


   Civil Action No.: 15-cv-2052-CBS

   SHARN LUCERO

        Plaintiff,

   v.

   WINDHAM PROFESSIONALS, INC., a Massachusetts corporation,

        Defendant.


                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE


COMES NOW the Plaintiff, by and through his undersigned attorney, notifying this
Honorable Court that the parties have settled all issues of this case. Pursuant to
Fed.R.Civ.P.41 (a)(1)(A)(i) the Plaintiff dismisses this case with prejudice. The parties
each shall pay their own attorney fees and costs.


November 18, 2015



                                               Respectfully submitted,

                                               /s/Troy D. Krenning
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